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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

WHAM-O HOLDING, LTD. and
INTERSPORT CORP. d/b/a WHAM-O,
                                                               Case No.: 1:19-cv-3851
        Plaintiffs,
                                                               Judge Matthew F. Kennelly
v.
                                                               Magistrate Judge Jeffrey Cummings
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.


                                     NOTICE OF DISMISSAL

       Plaintiffs hereby file this Notice of Voluntary Dismissal as to any remaining Defendants

that have not been subject to a prior Order entered by the Court, including any consent judgment

order, final judgment order, or a prior dismissal entered by the Court. All such Defendants are

hereby dismissed without prejudice.

       This terminates the action.

DATED: September 13, 2019                            Respectfully submitted,

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt (Bar No. 6207971)
                                                     Keith Vogt, Ltd.
                                                     111 West Jackson Boulevard, Suite 1700
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                                                     ATTORNEY FOR PLAINTIFF
   Case: 1:19-cv-03851 Document #: 41 Filed: 09/13/19 Page 2 of 2 PageID #:4995




                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on September 13, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all
registered attorneys of record.

                                                   /s/ Keith A. Vogt
                                                   Keith A. Vogt, Esq.




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